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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW MEXICO

DISABILITY RIGHTS NEW MEXICO, INC.,

               Plaintiff,

v.                                                    Case No. 1:22-CV-00954 WJ/JFR

TAFOYA LUCERO, et al.,

               Defendants.

       JOINT MOTION TO STAY PROCEEDINGS UNTIL SEPTEMBER 1, 2023

       THE PARTIES, through their undersigned counsel, respectfully request this Court stay

all proceedings in this case until September 1, 2023 so the Parties can conduct negotiations in

this matter. The grounds for this motion are:

           1. The Parties agree to an additional stay of proceedings;

           2. The previous stay expired on July 3, 2023;

           3. The Parties agree to a stay of an additional sixty days from July 3, 2023 until

               September 1, 2023;

           4. The Parties will continue to meet to conduct negotiations in this matter;

           5. The Parties agree that once the stay expires or is lifted, Plaintiff may file an

               Unopposed Motion to Surreply to Defendants’ Motion to Dismiss; and

           6. The Parties seek this stay in the interest of conserving judicial resources and the

               resources of the parties while they conduct negotiations.

       For the above-stated reasons, the parties respectfully request that the Court enter an order

staying all proceedings in this case until September 1, 2023.




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                                   Respectfully submitted,

                                   AMERICAN CIVIL LIBERTIES
                                   UNION OF NEW MEXICO

                                   /s/ Maria Martinez Sanchez
                                   Maria Martinez Sanchez
                                   Lalita Moskowitz
                                   1401 Coal Ave. SW
                                   Albuquerque, NM 87104
                                   (505) 266 5915 ext. 1015
                                   (505) 266 5916 (fax)
                                   lmoskowitz@aclu-nm.org
                                   msanchez@aclu-nm.org

                                   Maxwell Kauffman
                                   DISABILITY RIGHTS NEW MEXICO
                                   3916 Juan Tabo Blvd., NE
                                   Albuquerque, NM 87111
                                   (505) 256-3100
                                   (505) 256-3184 (Fax)
                                   mkauffman@drnm.org

                                   Katherine Loewe
                                   THE LAW OFFICE OF RYAN J. VILLA
                                   5501 Eagle Rock Ave, NE Suite C2
                                   Albuquerque, NM 87113
                                   (505) 256 7690
                                   (505) 433 5812 (fax)
                                   kate@rjvlawfirm.com

                                   Attorneys for Plaintiff

                                   and

                                   Mark Komer
                                   Long Komer & Associates
                                   P.O. Box 5098
                                   Santa Fe, NM 87502-5098
                                   (505) 982-8405
                                   mark@longkomer.com

                                   Attorney for Defendants




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing was served upon all counsel of

record via the CM/ECF system on this 5th day of July 2023.

                                                   /s/ Maria Martinez Sanchez
                                                   Maria Martinez Sanchez




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